   Case 2:21-cv-04898-GW-MRW Document 9 Filed 10/19/21 Page 1 of 1 Page ID #:34


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-4898-GW-MRWx                                                   Date     October 19, 2021
 Title             Kee Sook Ahn v. Kyugoro Aizawa, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                               None Present
                 Deputy Clerk                          Court Reporter / Recorder                         Tape No.
                Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                         None Present                                                None Present
 PROCEEDINGS :               IN CHAMBERS - ORDER TO SHOW CAUSE WHY THIS CASE
                             SHOULD NOT BE DISMISSED FOR LACK OF PROSECUTION

        This Order is issued pursuant to FRCP 4(m), which requires that plaintiff(s) serve the summons and complaint
upon all defendants within 90 days after filing the complaint. The Court may dismiss the action prior to the 90 days,
however, if plaintiff(s) has/have not diligently prosecuted the action.

        It is the responsibility of plaintiff to respond promptly to all Orders and to prosecute the action diligently,
including filing proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also
pursue Rule 55 remedies promptly upon default of any defendant. All stipulations affecting the progress of the case
must be approved by the Court, Local Rule 7-1.

        The file in this case lacks the papers that would show it is being timely prosecuted, as reflected below.
Accordingly, the Court, on its own motion, hereby orders plaintiff(s) to show cause in writing no later than October
29, 2021 why this action should not be dismissed as to all remaining defendants for lack of prosecution.

        As an alternative to a written response by plaintiff(s), the Court will accept one of the following, if it is filed
on or before the above date, as evidence that the matter is being prosecuted diligently.

         •          Proof of service of summons and complaint (applicable for defendant(s) who have not been served);
         •          In cases removed from State Court, responsive pleadings filed by all defendants
         •          Request for entry of default by plaintiff(s) (applicable where defendants have been served but not
                    answered);
         •          Motion for default judgment.

        No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted
upon the filing of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due.



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                                                                   Initials of Preparer     JG
CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                           Page 1 of 1
